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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

-against-                                       No. 17-CR-283 (LAP)

HENRY MEJIA,                                            ORDER

                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     Before the Court is Mr. Mejia’s motion for compassionate

release based on the COVID-19 pandemic and his related request

for appointment of counsel.         (See dkt. no. 406.)     Because Mr.

Mejia’s argument is straightforward and he has done a good job

presenting it, his request for counsel dated October 23, 2020 is

DENIED.     The Government shall respond to Mr. Mejia’s motion no

later than December 7, 2020.         Mr. Mejia may reply by December

28, 2020.     The Clerk of the Court shall mail a copy of this

order to Mr. Mejia.

SO ORDERED.

Dated:       November 5, 2020
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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